          Case 2:22-cv-00910-RSM     Document 55   Filed 10/24/24   Page 1 of 6




 1                                           THE HONORABLE RICARDO S. MARTINEZ

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 6
                          UNITED STATES DISTRICT COURT
 7                       WESTERN DISTRICT OF WASHINGTON
                                   AT SEATTLE
 8

 9   IN RE AMAZON SUBSCRIPTION                  Case No. 2:22-cv-00910-RSM
     SERVICES LITIGATION
10                                              PARTIALLY AMENDED JOINT
                                                STATUS REPORT
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     PARTIALLY AMENDED JOINT STATUS REPORT
     Case No. 2:22-cv-00910-RSM
            Case 2:22-cv-00910-RSM             Document 55        Filed 10/24/24      Page 2 of 6




 1          Counsel for Plaintiffs and Defendants Amazon.com, Inc. and Amazon.com Services LLC

 2   (“Amazon” or “Defendants”) (collectively “Parties”) seek to amend their respective proposed

 3   schedules as outlined in Section 4 of the Joint Status Report and Discovery Plan, filed on July 12,

 4   2024. Dkt. 52. The Parties incorporate their July 12, 2024 Joint Status Report into this submission

 5   and do not seek to modify it at this time in any way other than as set forth herein.

 6          Given that the Court has not yet issued a ruling on the Parties’ proposed case schedules,

 7   that the Parties’ disputes regarding their competing protective orders and ESI protocols remain

 8   outstanding, and given the pace of discovery to-date, the Parties seek to modify the case schedules

 9   they initially proposed in Section 4 of their Joint Status Report and Discovery Plan (Dkt. 52) as

10   follows:

11          Plaintiffs’ Position:

12          Plaintiffs note that the Parties have now agreed on a revised schedule for Plaintiffs’ motion

13   for class certification and related expert reports, as reflected in the Parties’ respective proposals

14   below. Plaintiffs continue to reserve rights to seek an extension of the revised dates proposed

15   herein depending on the pace of discovery and other case developments, or as otherwise warranted.

16          Plaintiffs also note Amazon’s statement below that “If a class is certified, Amazon will

17   produce evidence as to the identities of individual class members for any certified class within

18   sixty (60) days of an Order certifying a class.” For the avoidance of doubt, Plaintiffs state that they

19   do not agree that this assertion fully sets forth Amazon’s discovery obligations post-class-

20   certification, or otherwise, nor do they agree presently to the timeline Amazon proposes with

21   respect to production of the material Amazon specifically references.

22          Further, Plaintiffs note Amazon’s statement below that “The Parties will confer in good

23   faith regarding additional deadlines if and as needed.” While Plaintiffs will confer with Amazon

24   in good faith regarding deadlines if and as needed, they note their continuing disagreement with

25   Amazon as to the date for completion of non-expert discovery, as set forth in the Parties’ respective

26   positions below. Also, Plaintiffs note that they have submitted additional dates for the Court’s

27   consideration in the original joint status report, Dkt. 52, beyond those set forth below. Those

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     PARTIALLY AMENDED JOINT STATUS REPORT- 1
     Case No. 2:22-cv-00910-RSM
             Case 2:22-cv-00910-RSM           Document 55        Filed 10/24/24     Page 3 of 6




 1   proposed dates are based on the date on which the Court issues its order as to Plaintiffs’ motion

 2   for class certification.

 3                                                                      PLAINTIFFS’      PLAINTIFFS’
                                  EVENT                                   INITIAL           MODIFIED
 4                                                                       PROPOSAL           PROPOSAL

 5    Substantial completion of non-expert discovery                                     July 31, 2025

 6

 7    Deadline for Plaintiffs’ class certification motion, including   May 12, 2025      September
      any supporting expert reports                                                      24, 2025
 8

 9
      Deadline for Amazon’s opposition to Plaintiffs’ motion for       June 16, 2025     November
10    class certification, including any expert reports                                  24, 2025

11
      Deadline for Plaintiffs’ reply in support of motion for class    July 14, 2025     January 15,
12    certification, including any rebuttal expert reports                               2026

13
      Completion of non-expert discovery                               Within 3          Within 3
14                                                                     months after      months after
15                                                                     Court’s order     Court’s order
                                                                       on class          on class
16                                                                     certification     certification

17
             Amazon’s Position:
18
             The Parties will confer in good faith regarding additional deadlines if and as needed.
19
        EVENT                             AMAZON’S INITIAL                  AMAZON’S MODIFIED
20
                                          PROPOSAL                          PROPOSAL
21
        Completion of non-expert          January 10, 2025                  July 31, 2025
22      discovery
        Deadline for Plaintiffs’ class    February 14, 2025                 September 24, 2025
23
        certification motion, including
24      any supporting expert reports

25      Deadline for Amazon’s             April 14, 2025                    November 24, 2025
        opposition to Plaintiffs’
26      motion for class certification,
27      including any expert reports

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     PARTIALLY AMENDED JOINT STATUS REPORT- 2
     Case No. 2:22-cv-00910-RSM
            Case 2:22-cv-00910-RSM           Document 55        Filed 10/24/24       Page 4 of 6




 1      Deadline for Plaintiffs’ reply    May 23, 2025                       January 15, 2026
        in support of motion for class
 2      certification, including any
        supporting rebuttal expert
 3
        reports
 4

 5

 6          If a class is certified, Amazon will produce evidence as to the identities of individual class

 7   members for any certified class within sixty (60) days of an Order certifying a class.

 8
     Dated this 24th day of October, 2024          Respectfully submitted,
 9

10                                                 FENWICK & WEST LLP
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26                                                     SERVICES LLC
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     PARTIALLY AMENDED JOINT STATUS REPORT- 3
     Case No. 2:22-cv-00910-RSM
            Case 2:22-cv-00910-RSM          Document 55     Filed 10/24/24     Page 5 of 6




 1   Dated this 24th day of October, 2024      Respectfully submitted,

 2                                             HAGENS BERMAN SOBOL SHAPIRO LLP

 3                                             By: /s/ Steve Berman
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 9                                                           barbaram@hbsslaw.com
10                                                 Attorneys for Plaintiff Dorobiala and the
                                                   Proposed Nationwide Class Under Washington
11                                                 Law
12
     Dated this 24th day of October 2024       Respectfully submitted,
13

14                                             CARSON NOEL PLLC

15                                             By:/s/ Wright A. Noel
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                                                  Local Counsel for Plaintiffs Daly, Nacarino,
20                                                Sylvester, Sonnenschein, Adams, and the
                                                  Proposed Classes
21

22   Dated this 24th day of October 2024       Respectfully submitted,

23                                             BURSOR & FISHER, P.A.

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     PARTIALLY AMENDED JOINT STATUS REPORT- 4
     Case No. 2:22-cv-00910-RSM
            Case 2:22-cv-00910-RSM          Document 55        Filed 10/24/24     Page 6 of 6




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 7
                                                     Attorneys for Plaintiffs Daly, Nacarino,
 8                                                   Sylvester, Sonnenschein, Adams, and the
                                                     Proposed Classes
 9
                                                     * Pro hac vice application forthcoming
10

11
                                     CERTIFICATE OF SERVICE
12
            I hereby certify that on October 24, 2024, a true and correct copy of the foregoing was
13
     filed electronically by CM/ECF, which caused notice to be sent to all counsel of record.
14
                                                    /s/ Brian D. Buckley
15                                                         Brian D. Buckley

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     PARTIALLY AMENDED JOINT STATUS REPORT- 5
     Case No. 2:22-cv-00910-RSM
